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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION




UNITED STATES OF AMERICA,                     )    CASE NO.: 1:15-CV-01046
                                              )
              Plaintiff,                      )
                                              )    JUDGE SOLOMON OLIVER, JR.
       vs.                                    )
                                              )    NOTICE AND UPDATE REGARDING
CITY OF CLEVELAND                             )    NINTH SEMI-ANNUAL REPORT
                                              )
              Defendant.                      )
                                              )
                                              )


                                        I.        NOTICE

       On June 18, 2020, the Monitoring Team filed a Notice to the Court recognizing that

policing is at a crossroads like never before as a renewed civil rights movement has emerged to

challenge systemic racism within government and with specific concerns related to police

departments across the United States. In that Notice, the Monitoring Team informed the Court of

its intention to focus the Ninth Semi-Annual Report on a review of the Cleveland Division of

Police’s preparedness, response, and after-action activities related to the various planned and

unplanned protests occurring after the killing of George Floyd by officers of the Minneapolis

Police Department. See Dkt. No. 315. Specifically, the Monitoring Team would focus on the

protests that occurred in Cleveland between May 28, 2020 and June 12, 2020. Id.
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       Attached as Exhibit A to the Notice was a June 17, 2020, memorandum outlining the scope

of the review. It also included the Monitoring Team’s document requests to the Cleveland Division

of Police essential to its ability to gather and sort through the records surrounding the Division’s

response to the demonstrations that occurred during the relevant timeframe. Dkt. No. 315,

Attachment A.

       Since that time, the Monitoring Team has received some, but not all of the necessary

documents to facilitate the review. Overall, information responsive to the requests have trickled in

over the intervening months and the Monitoring Team still awaits the after-action reports for the

protest events dating back to late May and early June. Getting the partial response has taken time,

follow-up communications, and meetings to encourage the Division to provide information and

documents. To be clear, the Monitoring Team is hopeful that the after-action reports will be

thoughtful and contain all relevant evidence to support the Divisions’ conclusions, whatever they

may be. While the Monitoring Team would prefer quality over speed, timely analysis and

recommendations moving forward are important for legitimacy and as time goes by the value of

critical self-analysis by the Division can become stale.

       Due to the delays in receiving the necessary information to do a quality review, the

Monitoring Team informs the Court that the Ninth Semiannual report will likely be delayed until

the Monitoring Team is confident that all substantive, relevant documents have been provided and

the necessary analysis can occur.

                                        II.    CONCLUSION

       It is critical to the Monitoring Team’s role to examine the ability of the Cleveland Division

of Police ensure the safety of all while balancing the right to protest. The Team intends to engage

in a full assessment of the Division’s response during the protests. In order to do so, the Division



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must provide a timely and comprehensive response to the request for documents and information.

At this time, the Monitor respectfully informs the Court that the Ninth Semi-Annual Report will

likely be delayed due to the need to obtain the pertinent documents from the Division of Police.



                                                    Respectfully submitted,



                                                    /s/ Hassan Aden

                                                    HASSAN ADEN
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 6, 2020, I served the foregoing document entitled NOTICE

REGARDING NINTH SEMIANNUAL REPORT via the court’s ECF system to all counsel of

record.




                                                      /s/ Ayesha Hardaway
                                                      AYESHA HARDAWAY




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